      Case 17-50946-wlh            Doc 38     Filed 05/09/19 Entered 05/09/19 10:27:07                     Desc Main
                                              Document     Page 1 of 11




                                        UNITED STATES BANKRUPTCY COURT
                                         NORTHERN DISTRICT OF GEORGIA
                                                 Atlanta DIVISION


    In re: MONROE, CHARLES EDWARD                              §    Case No. 17-50946-WLH
                                                               §
                                                               §
                                                               §
                                Debtor(s)


                                            TRUSTEE'S FINAL REPORT (TFR)

           The undersigned trustee hereby makes this Final Report and states as follows:

          1. A petition under Chapter 7 of the United States Bankruptcy Code was filed on 01/18/2017. The
    undersigned trustee was appointed on 07/06/2018.
           2. The trustee faithfully and properly fulfilled the duties enumerated in 11 U.S.C. §704.

           3. All scheduled and known assets of the estate have been reduced to cash, released to the debtor as
    exempt property pursuant to 11 U.S.C. § 522, or have been or will be abandoned pursuant to 11 U.S.C. § 554.
    An individual estate property record and report showing the disposition of all property of the estate is attached
    as Exhibit A.

           4. The trustee realized the gross receipts of               $          36,143.33
                            Funds were disbursed in the following amounts:

                            Payments made under an
                             interim distribution                                        0.00
                            Administrative expenses                                      0.00
                            Bank service fees                                            0.00
                            Other payments to creditors                                 0.00
                            Non-estate funds paid to 3rd Parties                        0.00
                            Exemptions paid to the debtor                          16,500.00
                            Other payments to the debtor                                 0.00
                            Leaving a balance on hand of1              $           19,643.33
    The remaining funds are available for distribution.

   1The  balance of funds on hand in the estate may continue to earn interest until disbursed. The interest earned prior to
   disbursement will be distributed pro rata to creditors within each priority category. The trustee may receive additional
   compensation not to exceed the maximum compensation set forth under 11 U.S.C. § 326(a) on account of the disbursement
   of the additional interest.




UST Form 101-7-TFR (5/1/2011)
      Case 17-50946-wlh             Doc 38       Filed 05/09/19 Entered 05/09/19 10:27:07                       Desc Main
                                                 Document     Page 2 of 11



           5. Attached as Exhibit B is a cash receipts and disbursements record for each estate bank account.

           6. The deadline for filing non-governmental claims in this case was 12/24/2018 and the deadline for filing
    governmental claims was 12/24/2018. All claims of each class which will receive a distribution have been
    examined and any objections to the allowance of claims have been resolved. If applicable, a claims analysis,
    explaining why payment on any claim is not being made, is attached as Exhibit C.


           7. The Trustee's proposed distribution is attached as Exhibit D.
           8. Pursuant to 11 U.S.C. § 326(a), the maximum compensation allowable to the trustee is $2,714.33. To
    the extent that additional interest is earned before case closing, the maximum compensation may increase.


            The trustee has received $0.00 as interim compensation and now requests the sum of $2,714.33, for a
    total compensation of $2,714.332. In addition, the trustee received reimbursement for reasonable and necessary
    expenses in the amount of $0.00 and now requests reimbursement for expenses of $34.50 for total expenses of
    $34.502.

          Pursuant to Fed R Bank P 5009, I hereby certify, under penalty of perjury, that the foregoing report is true
    and correct.




    Date: 03/05/2019                                     By: /s/ Kyle Cooper
                                                                         Trustee , Bar No.: 425918




    STATEMENT: This Uniform Form is associated with an open bankruptcy case, therefore, Paperwork Reduction
    Act exemption 5 C.F.R. §1320.4(a)(2) applies.




          2If the estate is administratively insolvent, the dollar amounts reflected in this paragraph may be higher than the

    amounts listed in the Trustee's Proposed Distribution (Exhibit D)



UST Form 101-7-TFR (5/1/2011)
               Case 17-50946-wlh                        Doc 38     Filed 05/09/19 Entered 05/09/19 10:27:07                                    Desc Main
                                                                   Document     Page 3 of 11
                                                             Form 1
                                                                                                                                                         Exhibit A
                                         Individual Estate Property Record and Report                                                                    Page: 1

                                                          Asset Cases
Case No.:    17-50946-WLH                                                                    Trustee Name:      (300031) Kyle Cooper
Case Name:        MONROE, CHARLES EDWARD                                                     Date Filed (f) or Converted (c): 01/18/2017 (f)
                                                                                             § 341(a) Meeting Date:       02/22/2017
For Period Ending:        03/05/2019                                                         Claims Bar Date:      12/24/2018

                                     1                               2                      3                      4                    5                    6

                           Asset Description                      Petition/         Estimated Net Value     Property Formally     Sale/Funds            Asset Fully
                (Scheduled And Unscheduled (u) Property)        Unscheduled        (Value Determined By        Abandoned        Received by the      Administered (FA)/
                                                                   Values                 Trustee,             OA=§554(a)           Estate            Gross Value of
                                                                                  Less Liens, Exemptions,       abandon.                             Remaining Assets
  Ref. #                                                                             and Other Costs)

   1*       VOID (u)                                                      VOID                      VOID         VOID                       VOID                     VOID
            Excess Proceeds from Foreclosure. (See Footnote)

   2*       517 Woodrow Avenue, Atlanta, GA                        42,200.00                         0.00                              36,143.33                          FA
            30354-0000, Fulton County Single-family
            home Entire property value: $42,200.00
            (u)
            Excess Proceeds from Foreclosure. (See Footnote)

    3       2004 Hyundai Excel, 80000 miles. Entire                  2,000.00                        0.00                                    0.00                         FA
            property value: $2,000.00 (u)

    4       2 BR, LR, DR (u)                                             800.00                      0.00                                    0.00                         FA

    5       2 Tv, 2 DVD Players (u)                                      500.00                      0.00                                    0.00                         FA

    6       Record Collection (u)                                    1,000.00                        0.00                                    0.00                         FA

    7       Clothes/ Shoes (u)                                           100.00                      0.00                                    0.00                         FA

    8       Checking: Wells Fargo (u)                                      3.00                      0.00                                    0.00                         FA

    8       Assets Totals (Excluding unknown values)              $46,603.00                        $0.00                           $36,143.33                       $0.00


        RE PROP# 1            Funds in excess of foreclosure.

        RE PROP# 2            Excess Proceeds from Foreclosure.




 Major Activities Affecting Case Closing:

                                 2/19/2019 - Preparing to disburse Debtor's exemptions pursuant to Court Order (Doc. No. 33) and reviewing
                                 Proof of Claims.

                                 2/14/2019 - Motion to Pay Debtor's Exemption pending before the Court. Awaiting order.

                                 12/20/2018 - Reviewing POCs. Finalizing exemption discussion with Debtor's Attorney. If Amended Schedule
                                 C filed Trustee will review and file Objection if necessary.

                                 11/27/2018 - Title history investigation. Communicating and working with Debtor Attorney re possible
                                 exemptions, awaiting response.

                                 9/24/2018 - Bar date requested. Awaiting filing of POCs.

                                 8/1/2018 - Trustee seeking turnover of funds.

                                 7/3/2018 - Case reopened re excess proceeds from foreclosure sale.




 Initial Projected Date Of Final Report (TFR): 12/31/2019                         Current Projected Date Of Final Report (TFR):             12/31/2019

UST Form 101-7-TFR (5/1/2011)
             Case 17-50946-wlh            Doc 38   Filed 05/09/19 Entered 05/09/19 10:27:07                  Desc Main
                                                   Document     Page 4 of 11
                                                        Form 1
                                                                                                                   Exhibit A
                                    Individual Estate Property Record and Report                                   Page: 2

                                                     Asset Cases
Case No.:   17-50946-WLH                                         Trustee Name:      (300031) Kyle Cooper
Case Name:     MONROE, CHARLES EDWARD                            Date Filed (f) or Converted (c): 01/18/2017 (f)
                                                                 § 341(a) Meeting Date:    02/22/2017
For Period Ending:     03/05/2019                                Claims Bar Date:     12/24/2018


                     03/05/2019                                      /s/Kyle Cooper
                        Date                                         Kyle Cooper




UST Form 101-7-TFR (5/1/2011)
                  Case 17-50946-wlh                      Doc 38    Filed 05/09/19 Entered 05/09/19 10:27:07                                  Desc Main
                                                                   Document     Page 5 of 11
                                                              Form 2                                                                                Exhibit B
                                                                                                                                                    Page: 1
                                              Cash Receipts And Disbursements Record
Case No.:                 17-50946-WLH                                    Trustee Name:                    Kyle Cooper (300031)
Case Name:                MONROE, CHARLES EDWARD                          Bank Name:                       Rabobank, N.A.
Taxpayer ID #:            **-***9983                                      Account #:                       ******0100 Checking
For Period Ending: 03/05/2019                                             Blanket Bond (per case limit): $30,390,000.00
                                                                          Separate Bond (if applicable): N/A
    1             2                       3                                     4                               5                      6                      7

  Trans.       Check or      Paid To / Received From           Description of Transaction      Uniform       Deposit             Disbursement        Account Balance
   Date         Ref. #                                                                        Tran. Code       $                       $

 11/30/18        {2}      Aldridge Pite LLP                 Excess Proceeds from Forclosure   1210-000          36,143.33                                         36,143.33

 03/04/19        101      Charles Edward Monroe             Homestead Exemption               8100-002                                ! 16,500.00                 19,643.33

                                              COLUMN TOTALS                                                     36,143.33               16,500.00                 $19,643.33
                                                    Less: Bank Transfers/CDs                                           0.00                  0.00
                                              Subtotal                                                          36,143.33               16,500.00
        true
                                                    Less: Payments to Debtors                                                           16,500.00

                                              NET Receipts / Disbursements                                     $36,143.33                   $0.00


                                                                                                                                                      false




{ } Asset Reference(s)        UST Form 101-7-TFR (5/1/2011)                                                                   ! - transaction has not been cleared
             Case 17-50946-wlh                  Doc 38   Filed 05/09/19 Entered 05/09/19 10:27:07                     Desc Main
                                                         Document     Page 6 of 11
                                                       Form 2                                                             Exhibit B
                                                                                                                          Page: 2
                                       Cash Receipts And Disbursements Record
Case No.:           17-50946-WLH                             Trustee Name:                  Kyle Cooper (300031)
Case Name:          MONROE, CHARLES EDWARD                   Bank Name:                     Rabobank, N.A.
Taxpayer ID #:      **-***9983                               Account #:                     ******0100 Checking
For Period Ending: 03/05/2019                                Blanket Bond (per case limit): $30,390,000.00
                                                             Separate Bond (if applicable): N/A

                                       Net Receipts:          $36,143.33
                            Plus Gross Adjustments:                 $0.00
                           Less Payments to Debtor:           $16,500.00
                 Less Other Noncompensable Items:                   $0.00

                                         Net Estate:          $19,643.33




                                                                                                NET                  ACCOUNT
                                 TOTAL - ALL ACCOUNTS                     NET DEPOSITS     DISBURSEMENTS             BALANCES
                                 ******0100 Checking                            $36,143.33            $0.00              $19,643.33

                                                                               $36,143.33                    $0.00        $19,643.33




                 03/05/2019                                          /s/Kyle Cooper
                    Date                                             Kyle Cooper




UST Form 101-7-TFR (5/1/2011)
         Case 17-50946-wlh          Doc 38      Filed 05/09/19 Entered 05/09/19 10:27:07                  Desc Main
                                                Document     Page 7 of 11


                                                                                                                            Page: 1

                                                           Exhibit C
                                              Analysis of Claims Register
                                Case:17-50946-WLH                       CHARLES EDWARD MONROE
                                                                                   Claims Bar Date: 12/24/18


 Claim                Claimant Name/                   Claim Type/                   Amount Filed/        Paid          Claim
                                                                       Claim Ref
  No.               <Category>, Priority                Date Filed                     Allowed          to Date        Balance

FEE      Kyle Cooper                                  Administrative                        $2,714.33          $0.00     $2,714.33
         120 Travertine Trail
                                                      03/04/19                              $2,714.33
         Alpharetta, GA 30022
         <2100-000 Trustee Compensation>
         , 200

TE       Kyle Cooper                                  Administrative                          $34.50           $0.00        $34.50
         120 Travertine Trail
                                                      03/04/19                                $34.50
         Alpharetta, GA 30022
         <2200-000 Trustee Expenses>
         , 200

6        Ogier, Rothschild & Rosenfeld, PC            Administrative                        $2,310.00          $0.00     $2,310.00
         P.O. Box 1547
                                                      03/04/19                              $2,310.00
         Decatur, GA 30031
         <3210-000 Attorney for Trustee Fees (Other
         Firm)>
         , 200

7        Ogier, Rothschild & Rosenfeld, PC            Administrative                           $9.00           $0.00         $9.00
         P.O. Box 1547
                                                      03/04/19                                 $9.00
         Decatur, GA 30031
         <3220-000 Attorney for Trustee Expenses
         (Other Firm) >
         , 200

8        Clerk of the Bankruptcy Court                Administrative                         $260.00           $0.00       $260.00
         1340 United States Courthouse
                                                      03/05/19                               $260.00
         75 Ted Turner Drive
         Atlanta, GA 30303
         <2700-000 Clerk of the Court Fees>
         , 200
         Per Court Order Doc. No. 36
1P       IRS                                        Priority                                  $74.92           $0.00        $74.92
         401 W. Peachtree St., NW
                                                    09/27/18                                  $74.92
         Stop #334-D, Room 400
         Atlanta, GA 30308
         <5800-000 Claims of Governmental Units - §
         507(a)(8)>
         , 570




UST Form 101-7-TFR (5/1/2011)
         Case 17-50946-wlh         Doc 38       Filed 05/09/19 Entered 05/09/19 10:27:07              Desc Main
                                                Document     Page 8 of 11


                                                                                                                        Page: 2

                                                        Exhibit C
                                               Analysis of Claims Register
                                Case:17-50946-WLH                   CHARLES EDWARD MONROE
                                                                               Claims Bar Date: 12/24/18

 Claim                Claimant Name/                 Claim Type/                 Amount Filed/        Paid          Claim
                                                                   Claim Ref
  No.               <Category>, Priority              Date Filed                   Allowed          to Date        Balance

1U       IRS                                        Unsecured                            $305.78           $0.00       $305.78
         401 W. Peachtree St., NW
                                                    09/27/18                             $305.78
         Stop #334-D, Room 400
         Atlanta, GA 30308
         <7100-000 Section 726(a)(2) General
         Unsecured Claims>
         , 610

2        Bank of America, N.A.                      Unsecured                         $15,223.70           $0.00    $15,223.70
         P O Box 982284
                                                    10/17/18                          $15,223.70
         El Paso, TX 79998-2238
         <7100-000 Section 726(a)(2) General
         Unsecured Claims>
         , 610

3        Bank of America, N.A.                      Unsecured                         $11,322.51           $0.00    $11,322.51
         P O Box 982284
                                                    10/17/18                          $11,322.51
         El Paso, TX 79998-2238
         <7100-000 Section 726(a)(2) General
         Unsecured Claims>
         , 610

4        Georgia Natural Gas                        Unsecured                            $145.56           $0.00       $145.56
         P.O. Box 71245
                                                    11/27/18                             $145.56
         Charlotte, NC 28272
         <7100-000 Section 726(a)(2) General
         Unsecured Claims>
         , 610


                                                                                      Case Total:          $0.00    $32,400.30




UST Form 101-7-TFR (5/1/2011)
  Case 17-50946-wlh             Doc 38     Filed 05/09/19 Entered 05/09/19 10:27:07                         Desc Main
                                           Document     Page 9 of 11


                                     TRUSTEE'S PROPOSED DISTRIBUTION
                                                                                                                Exhibit D


    Case No.: 17-50946-WLH
    Case Name: CHARLES EDWARD MONROE
    Trustee Name: Kyle Cooper

                                                       Balance on hand:       $                             19,643.33

           Claims of secured creditors will be paid as follows:

  Claim      Claimant                                           Claim       Allowed            Interim         Proposed
  No.                                                        Asserted       Amount           Payments           Payment
                                                                            of Claim           to Date


                                                           None


                                                    Total to be paid to secured creditors:       $                   0.00
                                                    Remaining balance:                           $              19,643.33

           Applications for chapter 7 fees and administrative expenses have been filed as follows:

  Reason/Applicant                                                            Total            Interim         Proposed
                                                                          Requested          Payments           Payment
                                                                                               to Date

  Trustee, Fees - Kyle Cooper                                                2,714.33                0.00        2,714.33
  Trustee, Expenses - Kyle Cooper                                                 34.50              0.00          34.50
  Charges, U.S. Bankruptcy Court                                               260.00                0.00         260.00
  Attorney for Trustee Fees (Other Firm) - Ogier, Rothschild &               2,310.00                0.00        2,310.00
  Rosenfeld, PC
  Attorney for Trustee Expenses (Other Firm) - Ogier, Rothschild &                 9.00              0.00              9.00
  Rosenfeld, PC
                        Total to be paid for chapter 7 administrative expenses:                  $               5,327.83
                        Remaining balance:                                                       $              14,315.50

           Applications for prior chapter fees and administrative expenses have been filed as follows:

  Reason/Applicant                                                      Total             Interim           Proposed
                                                                        Requested         Payments          Payment

                                                           None


                      Total to be paid for prior chapter administrative expenses:                $                   0.00
                      Remaining balance:                                                         $              14,315.50




UST Form 101-7-TFR(5/1/2011)
  Case 17-50946-wlh            Doc 38      Filed 05/09/19 Entered 05/09/19 10:27:07                   Desc Main
                                          Document      Page 10 of 11


              In addition to the expenses of administration listed above as may be allowed by the Court,
      priority claims totaling $74.92 must be paid in advance of any dividend to general (unsecured)
      creditors.
              Allowed priority claims are:
  Claim       Claimant                               Allowed Amount         Interim Payments               Proposed
  No.                                                       of Claim                  to Date               Payment

  1P          IRS                                                 74.92                   0.00                 74.92

                                                      Total to be paid for priority claims:      $             74.92
                                                      Remaining balance:                         $         14,240.58

             The actual distribution to wage claimants included above, if any, will be the proposed payment
      less applicable withholding taxes (which will be remitted to the appropriate taxing authorities).
             Timely claims of general (unsecured) creditors totaling $26,997.55 have been allowed and will
      be paid pro rata only after all allowed administrative and priority claims have been paid in full. The
      timely allowed general (unsecured) dividend is anticipated to be 52.7 percent, plus interest (if
      applicable).
             Timely allowed general (unsecured) claims are as follows:
  Claim       Claimant                               Allowed Amount         Interim Payments               Proposed
  No.                                                       of Claim                  to Date               Payment

  1U          IRS                                                305.78                   0.00                161.29
  2           Bank of America, N.A.                         15,223.70                     0.00              8,030.15
  3           Bank of America, N.A.                         11,322.51                     0.00              5,972.36
  4           Georgia Natural Gas                                145.56                   0.00                 76.78
                          Total to be paid for timely general unsecured claims:                  $         14,240.58
                          Remaining balance:                                                     $              0.00

             Tardily filed claims of general (unsecured) creditors totaling $0.00 have been allowed and will be
      paid pro rata only after all allowed administrative, priority and timely filed general (unsecured) claims
      have been paid in full. The tardily filed claim dividend is anticipated to be 0.0 percent, plus interest (if
      applicable).
             Tardily filed general (unsecured) claims are as follows:
  Claim       Claimant                               Allowed Amount         Interim Payments               Proposed
  No.                                                       of Claim                  to Date               Payment

                                                          None


                          Total to be paid for tardily filed general unsecured claims:           $               0.00
                          Remaining balance:                                                     $               0.00




UST Form 101-7-TFR(5/1/2011)
  Case 17-50946-wlh          Doc 38     Filed 05/09/19 Entered 05/09/19 10:27:07                 Desc Main
                                       Document      Page 11 of 11


          Subordinated unsecured claims for fines, penalties, forfeitures, or damages and claims ordered
    subordinated by the Court totaling $0.00 have been allowed and will be paid pro rata only after all
    allowed administrative, priority and general (unsecured) claims have been paid in full. The dividend for
    subordinated unsecured claims is anticipated to be 0.0 percent, plus interest (if applicable).
          Subordinated unsecured claims for fines, penalties, forfeitures or damages and claims ordered
    subordinated by the Court are as follows:
  Claim     Claimant                             Allowed Amount        Interim Payments               Proposed
  No.                                                   of Claim                 to Date               Payment

                                                      None


                                                Total to be paid for subordinated claims: $                    0.00
                                                Remaining balance:                        $                    0.00




UST Form 101-7-TFR(5/1/2011)
